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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                X

   UNITED STATES OF AMERICA
                                                            PROTECTIVE ORDER

            - against -
                                                            Docket No. l S-rR-4^7 fS-2I fAMD)
   HUAWEI TECHNOLOGIES CO.,LTD., et aL,

                              Defendants.

                                               X




                   The government's request, by its sealed, ex parte. letter. Including a classified
   supplement, dated June 18, 2019,to delay certain discovery pursuant to Federal Rule of
   Criminal Procedure Rule 16(d)(1), Is granted.

   Dated:       Brooklyn, New York
                June SIO ,2019

                                                    s/Ann M. Donnelly
                                                   HONORABLE ANN M.DONNELLY
                                                   UNITED STATES DISTRICT JUDGE
                                                   EASTERN DISTRICT OF NEW YORK
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